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     David L. Speckman, CSB 178180
 1
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 6
     POWAY PROPERTY, LP

 7
                              UNITED STATES BANKRUPTCY COURT
 8
                               SOUTHERN DISTRICT OF CALIFORNIA
 9
     In re:                                               Case No. 20-05522-CL11
10
                                                          Chapter 11
11    POWAY PROPERTY, LP
                                                       DECLARATION OF DAVID HALL IN
12                                                     SUPPORT OF APPLICATION BY
                                                       DEBTOR AND DEBTOR IN
13                                                     POSSESSION FOR AUTHORIZATION
                                               Debtor. TO RETAIN AND EMPLOY SPECKMAN
14                                                     LAW FIRM AS COUNSEL UNDER
                                                       GENERAL RETAINER
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                                                          Hearing Date: November 22, 2021
16                                                        Hearing Time: 3:00 p.m.
                                                          Dept.: 5
17                                                        Judge: Hon. Christopher B. Latham
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19
              I, David Hall, do declare as follows:
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              1.     All matters set forth herein are true of my personal knowledge. If called
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      as a witness, I could and would competently testify hereto.
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              2.     I am a director of Poway Property, LP (“Debtor”).
23
              3.     Pre-petition, Larry Fedchum (in-house counsel for Capexco, Inc.) remitted
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      a $5,000 to Mr. Speckman to cover filing fees and legal fees incurred to prepare a
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      responsive pleading in three separate state court lawsuits filed against Debtor. Of this
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      SUPPLEMENTAL DECLARATION OF DAVID HALL IN SUPPORT OF APPLICATION BY DEBTOR AND DEBTOR IN POSSESSION
         FOR AUTHORIZATION TO RETAIN AND EMPLOY SPECKMAN LAW FIRM AS COUNSEL UNDER GENERAL RETAINER
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 1    amount, I understand that $2,700 was used to cover filing fees and the balance went to

 2    legal fees. Mr. Fedchum was reimbursed $5,000 by Capexco, Inc., a Canadian

 3    company which is not a creditor in this case. Debtor did not directly or indirectly pay

 4    any part of the $5,000 to Mr. Speckman and Debtor is not responsible to reimburse any

 5    part of this money to any person or party. At the time the $5,000 payment was made,

 6    to Mr. Speckman, Debtor had no plans to file a bankruptcy.

 7          4.        I am informed that Mr. Speckman is not owed any additional money for

 8    any pre-petition legal work he performed for Debtor.

 9          5.        On September 13, 2021, Debtor wire transferred $12,000 to Mr.

10    Speckman’s client trust account in relation to this bankruptcy case. Capexco, Inc.

11    made a capital contribution of $12,000 to Debtor so that Debtor could make this

12    payment to Mr. Speckman. Capexco, Inc. is not a creditor in this case. Debtor is not

13    liable to any person or entity for the $12,000 it received and subsequently paid to Mr.

14    Speckman.

15          6.        Going forward, I expect Debtor will be in a position to pay Mr. Speckman

16    either from funds borrowed from a third-party source, subject to court approval, or from

17    one or more capital contributions Debtor would receive from Capexco, Inc. No money

18    will be lent to Debtor by Capexco, Inc. or Capexco US GP, Inc. to pay Mr. Speckman’s

19    fees without prior court approval.

20          7.        Ms. Speckman does not represent Capexco, Inc in any matter and has no

21    direct or indirect interest in or relationship with Capexco, Inc.

22          I declare under penalty of perjury under the laws of the United States of America

23   that the foregoing is true and correct. Executed this 15th day of November 2021 at

24   Calgary, Alberta, Canada.

25
     /s/ David Hall
26   David Hall

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      SUPPLEMENTAL DECLARATION OF DAVID HALL IN SUPPORT OF APPLICATION BY DEBTOR AND DEBTOR IN POSSESSION
         FOR AUTHORIZATION TO RETAIN AND EMPLOY SPECKMAN LAW FIRM AS COUNSEL UNDER GENERAL RETAINER
